             Case 3:21-cv-00966-AR           Document 78      Filed 04/30/24      Page 1 of 1




                                  UNITED STATES DISTRICT COURT
                                         DISTRICT OF OREGON


MICHAEL KAADY,                                                             Case No. 3:21-cv-00966-AR

                                                                                          JUDGMENT
                         Plaintiff,
        v.

OFFICER ROBEL SHIFERAW, in his
Official capacity as an officer within the
Portland Police Bureau,

                   Defendant.
___________________________________

        Pursuant to Federal Rule of Civil Procedure 68(a), and Notice of Acceptance of Offer of

Judgment (ECF No.77),

        Judgment is entered in favor of Michael Riad Kaady and against Officer Robel Shiferaw. in the

sum of TWENTY-FIVE THOUSAND and ONE and no/100 Dollars ($25,001.00), plus costs (excluding

any prevailing fee), and including reasonable attorney’s fees to be determined by the Court, incurred as of

the date and time of the Offer of Judgment, and the dismissal with prejudice of all defendants.

        This Judgment shall not be construed as an admission of defendant’s liability nor an admission

that plaintiff suffered any damages.

         DATED this 30th day of April, 2024.


                                                         MELISSA AUBIN
                                                         Clerk of Court


                                                 By:    /s/ P. Geringer___________________________
                                                         P. Geringer, Deputy Clerk
